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                1    Samuel R. Maizel (SBN 189301)
                     samuel.maizel@dentons.com
                2    Tania M. Moyron (SBN 235736)
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                 3   DENTONS US LLP
                     601 South Figueroa Street, Suite 2500
                4    Los Angeles, California 90017-5704
                     Telephone: (213) 623-9300
                 5   Facsimile:    (213) 623-9924

                6    Attorneys for Official Committee of
                     Equity Security Holders
                 7
                                                      UNITED STATES BANKRUPTCY COURT
                8                                      CENTRAL DISTRICT OF CALIFORNIA
                                                        SAN FERNANDO VALLEY DIVISION
                9
                     In re:                                               Case No. 1:17-bk-12408-MB
               10                                                         Jointly administered with:
                     ICPW Liquidation Corporation, a                      Case No. 1:17-bk-12409-MB
               11    California corporation,
a. C./.)                                                                  Chapter 11
           8   12                      Debtor and Debtor in Possession.
   C/) 0
Ci) < N        13    In re:                                               DECLARATION OF ANDREW T.
                                                                          SOLOMON IN SUPPORT OF
               14    ICPW Liquidation Corporation, a Nevada               APPLICATION OF THE OFFICIAL
gwav                 corporation ,2                                       COMMITTEE OF EQUITY SECURITY
               15                                                         HOLDERS TO EMPLOY SOLOMON &
                                                                          CRAMER LLP AS SPECIAL
    — „,
    C>         16
                                       Debtor and Debtor in Possession.
                                                                          LITIGATION COUNSEL TO THE
                                                                          OFFICIAL COMMITTEE OF EQUITY
               17                                                         SECURITY HOLDERS NUNC PRO
                         Affects:                                         TUNC AS OF NOVEMBER 29, 2017
               18
                     1-1Both Debtors
               19                                                         [No Hearing Required Unless Requested
                         ICPW Liquidation Corporation, a                  Pursuant to Local Bankruptcy Rule 2014-1]
               20    California corporation
               21    [s] ICPW Liquidation Corporation, a
                     Nevada corporation.
               22

               23                  I, Andrew T. Solomon, declare, that if called as a witness, I would and could competently
               24    testify as follows:
               25                  1.       I am counsel at Solomon & Cramer LLP ("Solomon & Cramer"), 1441 Broadway,
               26    Suite 6026, New York, New York 10018.
               27
               28    'Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                     2 Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

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    1                     2.   The members of the Official Committee of Equity Security Holders (the "Equity

    2   Committee") have selected Solomon & Cramer to represent them.
    3                     3.   The Equity Committee requires the services of experienced and competent special
    4   litigation counsel, in addition to the services of Dentons US LLP ("Dentons") as counsel. Subject
    5   to approval of this Court, the Equity Committee has selected Solomon & Cramer as its special
    6    litigation counsel to handle certain litigation, including claims against former officers (the
    7   "Former Officers") and various third parties (the "Third Parties"), arising from certain prepetition
    8   acts as more fully explained below. The Equity Committee bases its selection of Solomon &
    9   Cramer on several factors, including its expertise in business litigation, as set forth below. The
   10   Equity Committee seeks to employ Solomon & Cramer at the expense of the Debtors' bankruptcy
   11   estates and to have the employment of Solomon & Cramer deemed effective as of November 29,
   12   2017, the date of the Equity Committee's appointment by the United States Trustee.
   13                 4.       By filing the Application of the Official Committee of Equity Security Holders to
   14   Employ Solomon & Cramer LLP as Special Litigation Counsel to the Official Committee of
   15   Equity Security Holders Nunc Pro Tunc as of November 29, 2017 (the "Solomon & Cramer
   16   Application")3 concurrently herewith, the Equity Committee seeks to employ Solomon & Cramer
   17   as special litigation counsel—pursuant to 11 U.S.C. §§ 1103(a) and 328(a), with hourly
   18   compensation pursuant to §§ 330 and 331 and contingency-fee compensation pursuant to
   19   11 U.S.C. § 328(a)—to render, among other things, services to include assisting and advising the
   20   Equity Committee in the prosecution of any claims and causes of actions against the Debtors'
   21   Former Officers and Third Parties, based on prepetition acts and any matters related thereto.
   22                 5.       The Equity Committee selected Solomon & Cramer because it offers a full range
   23   of commercial litigation services and has extensive experience in the following areas: legal and
   24   accounting malpractice; white collar criminal matters; and claims against directors and officers.
   25   Solomon & Cramer has litigated in courts and arbitration proceedings throughout the Country and
   26   has broad experience appearing before the Securities Exchange Commission (the "SEC"). Thus,
   27
   28   3 Capitalized
                   terms not otherwise defined herein shall have the meanings ascribed to them in the
        Solomon & Cramer Application.
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    1   the Equity Committee believes Solomon & Cramer is well-qualified to represent the Equity
    2   Committee. A copy of Solomon & Cramer's firm resume is attached hereto as Exhibit "A".
    3                   6.   Solomon & Cramer is a law firm comprising four (4) attorneys, two partners and
    4   two of counsel, with an office located in New York, New York and an attorney located in
    5   Chicago, Illinois and Dallas, Texas. Solomon & Cramer has expertise in virtually all areas of law
    6   related to the potential claims against the Debtors' Former Officers and Third Parties that the
    7   Equity Committee may draw upon from time to time as the need arises.
    8                   7.   All attorneys composing or associated with Solomon & Cramer who will be
    9   performing legal services for the Equity Committee in this case will be acting under the
   10   supervision of an attorney at Dentons duly admitted to practice law in the courts of the State of
   11   California. All attorneys who are expected to appear before this Court are admitted to practice
   12   law in the United States District Court for the Central District of California or have applied or
   13   will apply for such admission pro hac vice. All attorneys who are expected to appear before this
   14   Court are familiar with the Bankruptcy Code, Bankruptcy Local Rules and the United States
   15   Trustee Guidelines and will comply with them. A summary of the experience and qualifications
   16   of those Solomon & Cramer lawyers who are expected to be the primary Solomon & Cramer
   17   lawyers rendering services to the Equity Committee is attached hereto as Exhibit "B".
   18               8.       For this representation, Solomon & Cramer has agreed to reduced hourly rates.
   19   Solomon & Cramer proposes to render services to the Equity Committee at a combination of rates
   20   discounted twenty-five (25%) percent of standard rates, and a contingency-fee arrangement of ten
   21   (10%) percent of the shareholders' net recoveries if the gross recoveries are less than
   22   $5,000,000.00 and fifteen (15%) percent of the shareholders' net recoveries if the gross
   23   recoveries are equal to or greater than $5,000,000.004 (for the avoidance of doubt, under the
   24   foregoing scenario, the fifteen (15%) percent contingency-fee will only apply to the recoveries
   25   equal to or greater than the $5,000,000.00).
   26   4 Note: Solomon & Cramer specifically contemplated the existence of the contingency-fee
   27   arrangement described herein when it agreed to reduce its hourly rates by twenty-five (25%)
        percent of its standard rates. If, for any reason, the Court does not approve the contingency-fee
   28   arrangement, Solomon & Cramer reserves the right to request compensation equal to its standard
        rates and amend the Application accordingly.

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    1                  9.    Solomon & Cramer anticipates that the following attorneys and paraprofessionals
    2   will render services to the Equity Committee for the benefit of the estate in conjunction with the
    3   Debtors' bankruptcy proceeding:
    4                        a.     Andrew T. Solomon (partner): discounted hourly billing rate of $337.50;
                             b.     Jennifer Cramer (partner): discounted hourly billing rate of $225.00;
    5                        c.     Rebecca Zawisky (of counsel): discounted hourly billing rate of $187.50;
                                    and
    6                        d.     Various contract attorneys (for discovery only): standard hourly billing
                                    rate capped at $125.
    7                  10.   For certain professionals, such rates may be higher or lower than the local rate
    8   charged in cases billed out of the office in which the professional is resident. Solomon & Cramer
    9   reserves the right to ask this Court to adjust the hourly rates and rates of reimbursement in the
   10
        future if the rates it charges are increased.
   11                  11.   Solomon & Cramer will maintain detailed records of fees and expenses incurred in
   12
        connection with the rendering of the legal services described above, in accordance with
   13   applicable rules and guidelines.
   14                  12.   Pursuant to § 328(a), the Equity Committee may retain counsel pursuant to
   15
        "reasonable terms and conditions, including . . on an hourly basis . . . or on a contingent fee
   16
        basis." 11 U.S.C. § 328(a). The Equity Committee believes that the proposed terms constitute
   17
        fair and reasonable terms and conditions for the retention by the Equity Committee of Solomon &
   18
        Cramer as counsel in accordance with § 328(a). The contingency-fee arrangement is equal to or
   19
        more client-favorable than other similar engagements that Solomon & Cramer has entered into
   20
        with commercial clients. Under the terms of its proposed retention, Solomon & Cramer will
   21
        provide actual and necessary services to the Debtors' estates at reduced fees. Only if and when
   22
        the equity security holders receive a certain level of recoveries from these Cases may Solomon &
   23
        Cramer recover an additional amount to make up for its initial discount and out-of-pocket
   24
        expense. The contingency-fee therefore will not affect any other stakeholders in the Debtors'
   25
        Cases and will only be paid post-confirmation after certain shareholder recoveries.
   26              13.       Solomon & Cramer understands the provisions of §§ 328, 330, 331 and 1103,
   27
        Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1(b) and 2016-1, which require,
   28
        among other things, Court approval of the Equity Committee's employment of Solomon &

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    1   Cramer as counsel and of all legal fees and reimbursement of expenses that Solomon & Cramer
    2   will receive from the Debtors' estates. Solomon & Cramer understands and agrees that the
    3   standards related to § 328 will not apply to any compensation sought under the Application—
    4   except that, pursuant to the terms discussed herein, Solomon & Cramer seeks the contingency-fee
    5   compensation pursuant to § 328(a) (which fees will only be paid after certain recoveries to
    6   shareholders).
    7                   14.   Solomon & Cramer has not received and will not receive any lien or any other
    8   interest in property of the Debtors or of a third party to secure payment of its fees, but reserves
    9   the right to seek to surcharge collateral if appropriate. Solomon & Cramer understands that its
   10   compensation in this case will be subject to the approval of the Bankruptcy Court upon
   11   appropriate application and hearing—except that, pursuant to the terms discussed herein,
   12   Solomon & Cramer seeks the contingency-fee compensation pursuant to § 328(a). Solomon &
   13   Cramer intends to apply to this Court for fees incurred prior to the confirmation of the Joint Plan
   14   in conformity with the Bankruptcy Code and applicable rules, the guidelines for compensation
   15   and reimbursement for fees incurred and costs advanced in this matter and any orders of the Court
   16   governing application and allowance of compensation in this Case.
   17               15.       At the conclusion of this case, Solomon & Cramer will file an appropriate
   18   application seeking allowance of all fees and costs, regardless of whether interim compensation
   19   has been paid.
   20               16.       As set forth in Exhibit "C" attached hereto, Solomon & Cramer has identified all
   21   persons and entities who are, or may be, adverse to the Equity Committee and the Debtors, who
   22   are currently represented by Solomon & Cramer, or where a claimant of these estates, may be an
   23   adverse party in litigation where Solomon & Cramer represents the opposing party. A list of the
   24   parties and entities searched is hereto attached as Exhibit "C".
   25               17.       To the best of my knowledge, except as set forth below, Solomon & Cramer and
   26   the attorneys comprising or employed by Solomon & Cramer, (a) do not have any prior
   27   connection with the Debtors, any creditors of the Debtors or their estates, any equity security
   28   holders, or any other party in interest in these cases, or their respective attorneys or accounts

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    1   (other than professional connections and relationships), or these Cases; (b) do not hold or
    2   represent an interest materially adverse to the estates or of any class of creditors or equity secured
    3   holders, by reason of any direct or indirect relationship to, connection with, or interest in, the
    4   Debtors or an investment banker for any security of the Debtors, or for any other reason; and
    5   (c) are disinterested persons as that term is defined in 11 U.S.C. *101(14).
    6                  18.   As of the Petition Date, Solomon & Cramer was not a creditor, equity holder or
    7   insider of the estate. For purposes of full disclosure, I have previously represented: (i) Ronald
    8   Chez, a member of the Equity Committee, in EGS, LLC v. Merriman Holdings, Inc., BC66232
    9   (Sup. Ct. Cal. Los Angeles), Chez v. EGS, 656740/2017 (Sup Ct NY County), and Chez v.
   10   Johnson, No. 2017-L-007845 (Circuit Court of Cook County Ill.); (ii) Patrick O'Brien, a member
   11   of the Equity Committee, in Merriman Capital, Inc. v. COR Clearing, LLC, FINRA Case No. 16-
   12   02981 (FINRA); and (iii) Livevol, Inc. in True Quote Software, LLC v. Livevol, Inc.,
   13   1:2013cv09115 (N.D.             of which both Mr. Chez and Mr. O'Brien were affiliated.
   14              19.       Solomon & Cramer is not and was not an investment banker for any outstanding
   15   security of the Debtors. Solomon & Cramer has not been within three (3) years before the petition
   16   date an investment banker for a security of the Debtors, or an attorney for such an investment
   17   banker in connection with the offer, sale or issuance of any security of the Debtors.
   18              20.       Neither Solomon & Cramer nor any of its attorneys are, or were, within two
   19   (2) years before the petition date, a director, officer or employee of the Debtors or of any
   20   investment banker for any security of the Debtors.
   21              21.       Solomon & Cramer has not shared or agreed to share such compensation with any
   22   other person, except as among partners of Solomon & Cramer. Solomon & Cramer has no
   23   prepetition claims against the Debtors. Solomon & Cramer has not received a retainer.
   24              22.       Solomon & Cramer understands that any compensation to be received by Solomon
   25   & Cramer hereafter is subject to the approval of this Court on appropriate application and
   26   hearing—except that, pursuant to the terms discussed herein, Solomon & Cramer seeks the
   27   contingency-fee compensation pursuant to § 328(a), after certain recoveries for shareholders.
   28   Solomon & Cramer intends to file applications for allowance of fees and reimbursements of costs

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    1   as and when appropriate.
    2                     23.   To the best of Solomon & Cramer knowledge, no attorney employed by Solomon
    3   & Cramer is related to any judge of the United States Bankruptcy Court for the Central District of
    4   California, the United States Trustee, or to any person employed by the Office of the United
    5   States Trustee.
    6                     24.   The Equity Committee believes that their employment of Solomon & Cramer upon
    7   the terms and conditions set forth above is in the best interest of the Debtors' estates and equity
    8   holders.
    9                 I declare under penalty of perjury under the laws of the United States of America, that the
   10   foregoing is true and correct to the best of my knowledge, information, and/or belief.
   11                 Executed this 19th day of December, 2017, in New York, New York.
   12
   13                                                                      ANDREW T. SOLOMON
   14
                                                                  Solomon & Cramer LLP
   15                                                             1441 Broadway, Suite 6026
                                                                  New York, NY 10018
   16                                                             (t) (212) 884-9102
                                                                  (f) (516) 368-3896
   17                                                             asolomon@solomoncramer.com
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                           EXHIBIT A




                           EXHIBIT A
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                   SOLOMON CRA ER
 (http://solomoncramer.com/)




                               Commercial Litigation Boutique




 Our Firm

 Solomon & Cramer LLP was founded to provide its clients with exceptional legal services,
 personal attention, and value-driven results.

 We are a boutique business litigation firm offering a full range of commercial litigation services
 in securities investigations and claims, real estate matters, complex tort and business actions,
 and employment law.

 With over twenty years of legal experience, we provide expert, cost-effective counsel to
 companies and individuals on all aspects of business disputes.

 We are skilled, effective and dedicated litigators capable of assisting our clients in dispute
 resolution in New York City and throughout the United States.
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 Securities Litigation
 We represent corporate officers, law firms, individuals, brokerage firms, institutions and
 companies in connection with federal securities fraud claims, merger disputes, RICO, and
 class actions in a variety of forums, including federal and state court and before the
 NYSE.

 Andrew T. Solomon has particular expertise before the FINRA. He has successfully
 represented numerous financial advisors, administrative managers, and branch managers
 in FINRA and state regulatory investigations and complaints involving the following
 issues:

  •   Selling away;
  •   Unauthorized outside business activities;
  •   Sales of unregistered securities under Blue Sky laws;
  •   Failure to supervise;
  •   Improper exercise of discretion;
  •   Failure to disclose liens and other violations;
  •   Violations of sale practices rules; and
  •   Unsuitability

 Andrew also has broad experience before the SEC. He has represented individuals and
 companies in SEC investigations and in defense of claims, including allegations relating
 to stock option backdating, potential violations of internal control rules, alleged
 violations of the antifraud provisions of the Securities Laws, and alleged illegal
 distributions of unregistered securities.


 Business Litigation
  We represent companies and individuals in complex commercial litigation matters,
  including complex tort and business actions, legal and accounting malpractice, insurance
  disputes, loan enforcement actions, fraudulent conveyance, antitrust and distribution
  disputes, UCC and related litigation among manufacturers, distributors and resellers, as
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 well as partnership and joint venture disputes. We also have extensive experience in
 mediation and settlement negotiations.


  Employment Litigation
 We provide counsel on all aspects of employment litigation and have represented
 companies and individuals in federal and state lawsuits on the enforcement of restrictive
 covenants, housing discrimination and retaliation claims, contract disputes, wrongful
 termination, employment discrimination, and the enforcement of trade secrets.


  Trial and Appellate Work
 We have conducted jury and non jury cases through appeal, as well as arbitrations before
 the AAA, JAMS and the ICC, and matters before regulators including FINRA, the
 NASD, the NYSE, the SEC and state securities regulators (New York, Illinois, New
 Jersey, and Washington).
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                                          & Cramer LLP                Page 3 of 5




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                                         Suite 6026
                                   New York, NY 10018




http://solomoncramer.com/our-firm-2/                                    12/19/2017
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                           EXHIBIT B




                           EXHIBIT B
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 ANDREW T. SOLOMON, ATTORNEY AT LAW
   Founding Partner, SOLOMON & CRAMER LLP, 1441 Broadway, Suite 6026
   New York, N.Y. 10018; (m) 917 664-5575; (dd) 646 518-7822; (main) 212 884-9102


  EDUCATION
    Washington University in St. Louis
    BSBA - Accounting and Finance 1992
    Honors: Magna Cum Laude, Dean's List, Beta Gamma Sigma, Krebs Accounting Scholarship

     Columbia University Law School
     Juris Doctor 1995
     Honors: Harlan Fiske Stone Scholar; Columbia Business Law Review

  PROFESSIONAL EXPERIENCE
    Solomon & Cramer LLP                                                                    Present
    Founding Partner

     Sullivan & Worcester LLP                                                               1998-2017
     Partner, Litigation Practice Group Leader, Member of Partner
     and Associate Compensation Committees

     Graham & James LLP                                                                     1996-1998
     Litigation Associate

     Rosenman & Colin LLP                                                                   1995-1996
     Litigation Associate

  REPRESENTATIVE LEGAL WORK
    Securities Litigation
    Represented numerous individuals in SEC, FINRA, and Court proceedings, and Public Companies in SEC
    investigations, Merger Disputes, Class Action Lawsuits, and Single Plaintiff Securities Fraud Cases (Plaintiff
    and Defense)

     Real Estate Litigation
     Complex Foreclosure (Plaintiff and Defense), Commercial L-T (Tenant Side), Title and Ownership Disputes

     Small Business, General Commercial Litigation, and Legal and Accounting Malpractice
     Loan Enforcement and Defense, Partnership and Small Business Disputes, Legal and Accounting Malpractice
     (Plaintiff and Defense), Fraudulent Conveyance (Plaintiff and Defendant), Antitrust and Distribution Disputes,
     UCC and Related Litigation Between Manufacturers, Distributors, and Resellers, Complex Business Disputes;
     Foreign Sovereign Immunities Act; Consumer Class Action Defense

     Employment Litigation
     Covenants Not to Compete, Employee Contract Disputes (Advice and Litigation, Employer and Employee),
     Theft of Trade Secrets
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 ANDREW T. SOLOMON                                                                                   PAGE 2




     Trial Attorney and Appeals
     Tried jury and non-jury cases in state and federal court; arbitration cases, including AAA, JAMS, FINRA, and
     ICC. Briefed and argued numerous appeals including in New York's Appellate Division and the Second Circuit
     Court of Appeals

 PUBLICATIONS, PAPERS AND LECTURES
   United States: When Your "Client" Is Your Company's Investor, How Is Attorney-Client Privilege Applied?
   (www.mondaq.com)
   Is Discovery of Private Facebook Postings on Equal Footing with General Discovery Principles? (S&W Client
   Advisory)
   The Need for Speed: The Delaware Rapid Arbitration Act (www.lexology.com)
   Caveat Employer Part Two: The Second Circuit Articulates a New Test in Intern v. Employee Debate: The
   "Primary Beneficiary Test." (S&W Client Advisory)
   Attention In-House Attorneys: Don't Throw Your Timesheets Away (S&W Client Advisory)
   Caveat Employers: Unpaid Interns Could Be Costly (S&W Client Advisory)
   Using Benchmarks to Manage Litigation (www.acc.corn)

     CLE Lectures, Contract Law (ACC Israel, June 2016), Contract Law, ACC Annual Conference New Orleans
     (2015), Antitrust Basics, New York Law Concerning Joint Ventures and Agreement to Agree (ACC Israel, June
     2010)

  BAR ADMISSIONS
    New York 1995
    New Jersey 1999
    US District Courts: SDNY, EDNY, DNJ
    US Courts of Appeals: 2nd Cir, 11th Cir., Federal Circuit
    Supreme Court of the United States
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                           Jennifer G. Cramer, Partner
  EDUCATION:

     • University of Pennsylvania Law School, J.D., 1992
       Legal Writing Instructor

    ■ Cornell University, B.A., with Distinction in All Subjects, Phi Beta Kappa, 1989
  BAR ADMISSIONS:

     ■ New York
    ■ Illinois
  COURT ADMISSIONS:

        U.S. District Courts for the Southern and Eastern Districts of New York
        U.S. District Court for the Northern District of Illinois
    ■ U.S. District Court for the District of Massachusetts

    • U.S. District Court for the Eastern District of Pennsylvania
    • U.S. Court of Appeals for the Federal Circuit
        U.S. Court of Appeals for the 1st Circuit
  MEMBERSHIPS:

        New York City Bar Association
    • Chicago Bar Association

  BIOGRAPHY:

 Jennifer G. Cramer graduated from Cornell University (Phi Beta Kappa, with Distinction in All
 Subjects), and attended the University of Pennsylvania Law School where she was a Legal
 Writing Instructor.

 Upon graduation in 1992, she worked as a litigator for a large, national law firm in Philadelphia
 before moving to New York City where she worked for Graham & James LLP with Andrew
 Solomon on commercial litigation matters, including patent litigation, securities fraud,
 employment disputes, and arbitrations.

 Jennifer then moved her practice to Boston and worked at a boutique intellectual property law
 firm, where she litigated patent disputes and prosecuted trademark and copyright claims before
 the Patent and Trademark Office in Washington, D.C.
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  Most recently, Jennifer has been working in Chicago as the founder of LegalWrite101, a legal
  writing consulting business, has served as an Adjunct Professor of Legal Writing at Loyola
  University Law School, and is an accredited CLE provider in New York for legal writing.

  Jennifer has served on numerous non-profit boards in various executive roles, including as
  President of her Temple's Sisterhood where she oversaw an organization of over 300 members
  and as President of her local Parent Teacher Organization.

  She also volunteers her time on behalf of Cornell University as an Alumni Ambassador. In her
  free time, Jennifer plays paddle tennis, studies conversational Hebrew, enjoys the theater, and is
  an avid travel soccer fan.
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                                           Rebecca A. Zawisky
1906 Cresson Dr.                                                                 (402) 926-8955
Southlake, Texas 76092                                                           rebeccazawisky@hotmail.com

EXPERIENCE
BNSF Railway Company, 4/2012 — 6/2014
Assistant General Attorney, Fort Worth, Texas
    • Primary areas of focus: economic regulatory counsel for commercial transactions/litigation.
    •   Provide day-to-day legal support to business units: negotiate, draft and close commercial contracts and
        advise on contract interpretation and risk of disputes/litigation and competition-related issues.
    •   Develop strategy, supervise, and manage costs for matters in litigation, mediation and arbitration arising
        out of commercial disputes and handle regulatory matters before the Surface Transportation Board.
    •   Work with public entities to provide responses to public record request requests involving BNSF.
    •   Review service and license agreements for technology and marketing subscriptions.
    •   Subject matter expert on legal and commercial issues arising with BNSF's largest customer.

Fraser Stryker Law Firm, 5/2005 — 4/2012
Attorney, Omaha, Nebraska
    • Fraser Stryker is one of the largest firms in Nebraska (50 attorneys) with an acclaimed litigation group.
    •   Primary areas of focus: commercial litigation and insurance defense litigation.
    •   Significant experience in all aspects of civil litigation from case intake through final disposition at
        dismissal, settlement or trial. Handled heavy caseload in a fast-paced litigation practice.
    •   Routinely briefed and argued motions to dismiss, motions for summary judgment, motions in limine and
        other pretrial hearings.
    •   First chair jury trial and bench trial experience.
    •   Evaluated policies, claims and underwriting files and analyzed insurance coverage issues and drafted
        opinion letters. Analyzed Examinations Under Oath and drafted opinion letters concerning potential fraud
        claims for Special Investigations Unit.

United States District Court, Southern District of Iowa, Spring Semester 2005
Externship Clerk for Chief Justice Ronald Longstaff
       Researched and drafted court memoranda, judicial opinions and orders for criminal and civil dockets.

Hughes Hubbard & Reed LLP, Summer 2004
      Project Assistant, Washington D.C.
      Provided project assistance for 300+ member international law firm.

U.S. House of Representatives, 9/2001 — 8/2003
       Legislative Assistant to Congressman Trent Franks (R-Arizona), 1/2003-8/2003
       Legislative Assistant to Congressman Greg Ganske (R-Iowa), 9/2001-1/2003
       Developed legislative agenda and drafted bills, speeches, proposals and appropriations requests.
       Facilitated meetings with constituents and lobbyists, and responded to constituent correspondence.

EDUCATION
Tippie College of Business, University of Iowa               College of Law, University of Iowa
B.B.A. in Finance, May 2001                                  Juris Doctorate, May 2006 (Top 40%)

BAR ADMISSIONS
Texas, Nebraska, Iowa
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                             Representative Cases as Outside Counsel
* Party represented denoted with bold text.
         A. Complex Commercial Agreement Disputes
Affiliated Foods Midwest Cooperative v. Integrated Distribution Solutions et. al., In the District Court of the District for
the District of Nebraska, No. 8:06-CV-532
Obtained a defense judgment in favor of our client and a $2.5 million judgment on a counterclaim (the full amount
sought) following a two week trial before a three person AAA panel, where Plaintiff was seeking more than $22 million
dollars on breach of contract and fraud theories in a dispute arising from Plaintiff's purchase of Defendant's hardware and
software. The Arbitration Judgment was entered by the United States District Court for the District of Nebraska.
(Drafted motions and briefs, managed document review team, prepared fact and expert witnesses for depositions and trial,
participated as counsel at trial)

RSG, Inc. et. al. v. Sidump'r Trailer Company, Inc., 2009 WL 428957 (D. Neb. 2009)
Awarded Partial Summary Judgment in favor of Sidump'r on issue of the enforceability of a noncompete clause in an
Asset Purchase Agreement. Also defeated Plaintiff's Motion for Summary Judgment on nineteen various issues, most of
which arose from defenses to Buyer/Sidump'r's counterclaims asserting fraud in the formation and terms of the Asset
Purchase Agreement. The matter was tried in a two week jury trial in Federal Court.
(Drafted motions and briefs, managed document review, prepared fact and expert witnesses for depositions and trial)

        B. Intellectual Property
Peter Kiewit Sons', Inc. v. Wall Street Equity Group, Inc., Wall Street Group of Companies, Inc., Shepherd Friedman and
Steven S. West, 2010 WL 3968911 (D. Neb. 2010)
Obtained TRO and Preliminary Injunction to protect Plaintiff's service marks from infringement by Defendants.
(Drafted Complaint, drafted motions and briefs and argued motions, interviewed fact witnesses)

        C. Procedural Matters
Carl Turner and Yvetta Turner v. Werner Enterprises, Inc., Abirahman Egal and Thaddeus Towns, 2009 WL 4487152 (D.
Neb. 2009)
Successfully achieved Court ruling granting transfer of venue pursuant to 28 U.S.C. § 1406(a), thereby requiring
transferee forum to apply the choice of law principles of the transferor state. In this case, Plaintiffs were not allowed to
exploit Nebraska's "borrowing statute" by bringing the longer Nebraska statute of limitations to a more convenient venue
and Plaintiffs' claim remained barred by the statute of limitations in Louisiana.
(Prepared motion and briefs)

TAZ Property Co., L.L.C. v. Marble Rock Investments, L.L.C., In the District Court of Douglas County, Nebraska, Doc.
1100 No. 258
Obtained TRO and Preliminary Injunction for Plaintiff after its commercial rental property was transferred to Defendant
via a Treasurer's Tax Deed due Plaintiff's failure to pay tax on the property for three consecutive years. The Court
accepted Plaintiff's argument that Defendant's tax deed was likely void due to a jurisdictional defect due to Defendant's
failure to make the statutorily required "diligent inquiry" to locate the property owner.
(Prepared motions and briefs, prepared fact witness for hearing)

        D. Premises Liability
Samuel J. Watson and Jean Watson v. McDonald's Restaurants of Nebraska, Inc., In the District Court of Douglas
County, Nebraska, Doc. 1072 No. 296
Negotiated favorable defense settlement after submitting Motion for Summary Judgment on affirmative defense of
assumption of risk a premises liability claim involving a catastrophic injury in which Plaintiff alleged in excess of $8
million in damages.
(Prepared motions and briefs, prepared fact and expert witnesses for depositions and trial, managed document review,
facilitated focus group and analyzed results of same, assisted in negotiating settlement and prepared settlement
documents)
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                    Representative Cases as Outside Counsel (continued)
* Party represented denoted with bold text,
        E. Product Liability
Saint Joseph Terrace Apartments, L.L.C. v. U.S. Natural Resources, Inc. d/b/a Friedrich Air Conditioning and
Refrigeration Co., In the United States District Court for the District of Nebraska, No. 8:09-CV-176
Negotiated nuisance value settlement for Defendant for matter arising from alleged product defect where Plaintiff alleged
nearly $200,000 in special damages resulting from fire purportedly caused by Defendant's PTAC unit.
(Prepared motions and briefs, prepared fact and expert witnesses for depositions and trial, assisted in negotiating
settlement and prepared settlement documents)

        F. Significant State Farm Insurance Matters
Everett Levison and Wesley Levison v. Kevin Dana and Kimberly Dana, In the County Court of Douglas County,
Nebraska, CI-07-46603
First chaired a jury trial to verdict in March 2008 for insurance client's defense of claims of negligence resulting from a
two vehicle accident.
(Handled case from start to finish)

David Goodwin v. Mathias M. Hobza, 2008 WL 4525886 (Neb. App. 2008)
Obtained Order from Nebraska Court of Appeals affirming District Court's Motion for Directed Verdict on Plaintiff's
claims and adopting our argument that claims belonging to Plaintiff's son were not within the appellate court's jurisdiction
due to a deficiency arising from Plaintiff's unauthorized practice of law on behalf of his minor son's claims.
(Drafted appellate briefs)

Clinton P. Jones, Individually and as Father and Next Friend of Skye E. Jones v. Linda Lenning as Administrator of the
Estate of Shawna K. Jones, and State Farm Mutual Automobile Insurance Company, In the Iowa District Court for
Pottawattamie County, Law No. 04781 LACY 88721
Awarded Summary Judgment in our insurance client's favor on denial of a contract claim arising from an automobile
accident in which the driver deceased and her minor child suffered permanent injuries; the deceased driver's ex-husband
and the father of the injured child sought the full value of his uninsured and underinsured motorist coverage under his
State Farm policy and under the deceased driver's State Farm policy for his loss of the child's consortium and Plaintiff also
sought to stack medical expenses coverage. In a reversal of court precedent, the Supreme Court overturned the District
Court's granting of summary judgment in Jones v. State Farm Mut. Auto. Ins. Co., 760 N.W.2d 186 (Iowa 2008).
(Drafted motions and briefs, including appellate briefs, handled all aspects of discovery, assisted in negotiating settlement,
prepared settlement documents)

Nicole H. Nunez, By and Through Her Father, Robert J. Nunez, Jr v. Happy Cab Company, Paratransit Insurance
Company and State Farm Insurance, In the District Court of Douglas County, Nebraska, Doc. 1068 No. 452
Obtained Summary Judgment for State Farm Insurance where the Court ruled that the State Farm policy did not provide
coverage in light of Nebraska law, the anti-stacking provisions of the policy, and the policy provision providing for excess
coverage only in the amount which a bodily injury exceed the primary coverage. Plaintiff was the passenger in a cab
which was hit by an uninsured motorist.
(Handled case from start to finish)

        G. Other Insurance Defense
Janita Kelly v. Monumental Life Insurance Company, In the District Court of Douglas County, Nebraska, Doc. 1097 No.
634
Achieved voluntary dismissal for Monumental Life Insurance Company after Plaintiff's receipt of our Motion for
Summary Judgment, Plaintiff was the putative beneficiary of a life insurance policy issued to Plaintiff's mother by
Defendant. Upon an investigation of the claim file and discovery, it was concluded that health information was
misrepresented in order to obtain the policy, which was issued a mere eight months before the policyholder passed away
from complication of ALS.
(Handled case from start to fmish)
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                           EXHIBIT C




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                            EXHIBIT C
                IRONCLAD PERFORMANCE WEAR CORP.
                  PARTIES CHECKED FOR CONFLICTS

        ALL IN THE BEHL FAMILY RLLP
        ANNALOUISE JAEGER & KEITH VERWOEST
        ANTHONY KEATS
        ARTHUR GERRICK
        B.A.T.B. LLC
        BARBARA ASHTON
        BIRCH FAMILY TRUST
        BRIAN SHEENY
        BROCK GANELES
        BRUCE G. KLAS
        CATHERINE A. SEAK
        CEDE & Co (FAST)
        CHARLES E. FRISCO JR.
        CHARLES H. GIFFEN
        CHERYL WASHINGTON
        CHRIS JUETTEN
        CHRISOPHER M. HAZLITT
        CINDY MATTHEWS
        CLAYTON WYOMING LLC
        DANIEL THOMAS GIEBER
        DAVID G. HILL
        DAVID J. COOK
        DAVID L. JACOBS
        DENNIS TORRES & AVERI TORRES
        DENNIS TORRES & AVERI TORRES TRUST
        DONALD P. ELLIOTT
        ED WETHERBEE
        EDUARD ALBERT JAEGER
        EDWIN BALDRIDGE TTEE UA DTD 10/30/1992 E
        ELI ARRIV
        EMIL IANNACCONE TTEE UA DTD 9/16/2010
        EMIL IANNACCONE SEPARATE PROPERTY TRUST
        ENSCO INC.
        ERIC JAEGER
        ETHAN AISENBERG

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         FAMILY TRUST OF EARL G. LUNCEFORD
         GEMINI PARTNERS INC.
         GLEN K. INGALLS & RENEE PACHECO TTEES U/A 4-5-05
         THE INGALLS PACHECO 2005 TRUST
         GREAT PANDA INVESTMENT CO LLP
         GREG AKSELRUD
         GREGORY AKSELRUD
         HAROLD F. SCHAFF
         HAROLD SCHAFF & CHERYL SCHAFF TTEES
         HEIDI JAEGER
         HORACE DUNBAR HOSKINS JR. & ANN REID HOSKINS JT
         TEN
         HUBERT L. BROWN & ANNABELLE BROWN FOWLKES &
         QUINTARD p. COURTNEY III TRUSTEES U/A/ DTD 12-07-0
         IRONCLAD PERFORMANCE WEAR CORP.
         JAEGER FAMILY LLC
         JAMES R. YOUNG
         JAMES SEIBEL
         JARUS FAMILY TRUST
         JARUS FAMILY TRUST TR SCOTT M. JARUS TTEE,
         REBECCA D. JARUS TTEE U/A DTD 10/19/2007
         JARUS FAMILY TRUST U/A/ DTD 10/19/2007
         JEFFREY D. CORDES
         JEFFREY F. GERSH & ARIE J. GERSH LIVING TRUST
         JEFFREY ORR
         JOANNA WALDEAR-LUCAS AS TTEE FBO THE JOANNA
         WALDEAR-LUCAS LIVING TRUST DTD 4-12
         JOE WORDEN
         JOHN E. ORCUTT & MARCIA ORCUTT JT TEN
         JOHN MCILVERY
         JONATHAN HODES
         JOSEPH D. RYAN
         KATHERINE BERCI DEFEVERE, TRUSTEE DEFEVERE
         TRUSTE UAD 9/28/98
         KEALA STANFILL
         KEVINE DEBRE
         KIM WOODWORTH
         BILL WOODWORTH
         KLEIN PARTNERS LTD

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         KNUTE LEE
         KONRAD GATIEN
         KYLE EDLUND
         LOUIS WHARTON
         MARC S. PESTER
         MARK HAWKING
         MARK W. FISCHER
         MATTHEW JUETTEN
         MATTHEW LAUBERT
         MCDERMOTT & BULL
         MELISSA DERBY
         MICHAEL A. DIGREGORIO
         MICHAEL ANTHONY DIGREGORIO TRUSTEE U/A D THE
         GREGORIO REVOCABLE TRUST
         MICHAEL B. JOHNSON
         MICHAEL CASEY HOCH
         MICHAEL GRANT
         MICHAEL GROSSMAN
         MIKE SALOMON
         MURRAY MARKILES
         NATASHA H. BEN
         PAMELA SULLIVAN
         PATRICK JUETTEN
         PATRICK W. O'BRIEN
         PETER SEAMANS
         R.D. PETE BLOOMER
         RADIAN WAREHAM HOLDING, INC.
         REBECCA D. JARUS & SCOTT M. JARUS TTEES U/A JARUS
         FAMILY TRUST
         REYHEENA EIDARIUS
         RHONDA HOFFARTH
         RICHARD KRONMAN & IAN MATTHEW TRUSTEES FBO
         KRONMAN MATTHEW & ASSOC. DEFINED BENEFIT PAN D
         RICHARD KRONMAN & MAUREEN KRONMAN REVOCA
         DTD 2/28/02
         ROBERT C. CLARK
         ROBERT F. CHARLES JR.
         ROBERT H. KEELEY & SANDRA KEELEY JT TEN
         ROBERT MEOTTLE

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         RONALD D. BLOOMER
         RONALD S. WEAVER MD
         RYAN AZLEIN
         SCOTT ALDERTON
         SCOTT GALER
         SEAMARK FUND LP
         SEGAL FAMILY TRUST
         SPM CENTER LLC
         STANLEY M. RUMBOUGH JR.
         STEPHEN GOODHUE
         STEVE FEDEA
         STEVEN C. EARNSHAW
         STEVEN W. TOWN
         STUBBS ALDERTON & MARKILES LLP
         TAMALPAIS PARTNERS
         TARBY BRYANT
         ELLEN IDELSON TRUST DATED MARCH 20 2
         ORCUTT FAMILY TRUST
         SASSOLA III FAMILY TRUST
         WILLIAM j. & SEEMAK w. IDELSON FAMILY TRUST DATED
         APRIL 29, 1997
         THOMAS ELLIOTT
         THOMAS FELTON
         THOMAS KENDALL
         THOMAS W. MASON
         THOMAS W. MASON & LISA L. MASON JT TEN
         TODD GITLIN
         V. JOSEPH STUBBS
         VALORIE STANSBERRY
         VANE CLAYTON
         WILLIAM AISWNBERG
         WILLIAM L. BOETTCHER
         WILLIAM MECK
         WILLIAM MECK & TERESA MECK JT TEN
         MN GUO
         NANTONG CHANGBANG GLOVES CO.
         WONEEL MIDAS LEATHERS
         MERCINDO GLOBAL MANUFAKTUR
         MARUSAN-MIMASU TSHUSHO CO. LTD.

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        SKADDEN ARPS SLATE MEAGHER & FLOM LLP
        STUBBS, ALDERTON & MARKILES, LLP
        PT JJ GLOVES INDO
        PT SPORT GLOVE INDONESIA
        WINSPEED SPORTS SHANGHAI CO., LTD.
        ADVANTAGE MEDIA SERVICES, INC.
        RESOURCES GLOBAL PROFESSIONALS
        BDO USA, LLP
        SYNETRA
        KA HUNG GLOVE INDUSTRIAL CO. LTD.
        UNIVERSITY OF MILWAUKEE
        RISK CONSULTING PARTNERS
        SHUR-SALES & MARKETING, INC.
        CAPITAL ONE BANK
        YELLOW AND ROADWAY
        FED EX
        SCOTT JARUS
        VANE CLAYTON
        MICHAEL DIGREGORIO
        CHARLES GIFFEN
        DAVID JACOBS
        PETE BLOOMER
        PATRICK O'BRIEN
        SCOTT ALDERTON
        JEFF CORDES
        BILL AISENBERG
        RONALD CHEZ
        ED JAEGER




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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18'and not a party to this bankruptcy case or adversary proceeding. My business address is 601
South Figueroa Street, Suite 2500, Los Angeles, CA 90017:

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF ANDREW T. SOLOMON IN
SUPPORT OF APPLICATION OF THE OFFICIAL COMMTTEE OF EQUITY SECURITY HOLDERS TO EMPLOY
SOLOMON & CRAMER LLP AS SPECIAL LITIGATION COUNSEL TO THE OFFICIAL COMMITTEE OF EQUITY
SECURITY HOLDERS NUNC PRO TUNC AS OF NOVEMBER 29, 2017 will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 19, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

      •   Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
      •   Ron Bender rb@Inbyb.com
      •   Cathrine M Castaldi ccastaldi@brownrudnick.com
      •   Russell Clementson russell.clementson@usdoj.gov
      •   Aaron S Craig acraig@kslaw.com, Iperry@kslaw.com
      •   Matthew A Gold courts@argopartners.net
      •   Monica Y Kim myk@Inbrb.com, myk@ecf.inforuptcy.com
      •   Jeffrey A Krieger jkrieger@ggfirm.com,
            kwoodson@greenberggluskercom;calendar@greenberggluskercomjking@greenberggluskercom
      •   Samuel R Maizel samuel.maizel@dentons.com,
            alicia.aguilar@dentons.com;docket.generallit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.howard@
            dentons.com
      •   Krikor J Meshefejian kjm@Inbrb.com
      •   Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
      •   S Margaux Ross margaux.ross@usdoj.gov
      •   Susan K Seflin sseflin@brutzkusgubnercom
      •   John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
      •   United States Trustee (SV) ustpregionl6.wh.ecf@usdoj.gov
      •   Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
      •   Susan K. Seflin sseflin@bg.law.com

                                                                                           ❑ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 19, 2017, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                           El   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 19, 2017, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.
                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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BY PERSONAL DELIVERY
Hon. Martin R. Barash
US Bankruptcy Court
Central District of California
21041 Burbank Blvd., Suite 342/Ctrm. 303
Woodland Hills, CA 91367

                                                                                           [A   Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  December 19, 2017 Christina O'Meara                                                               /s/Christina O'Meara
  Date                              Printed Name                                                    Signature




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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           Case 1:17-bk-12408-MB                      Doc 355 Filed 12/19/17 Entered 12/19/17 15:26:07                                      Desc
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SERVED BY U.S. MAIL:

Secured Creditor                                        Counsel to Radians Wareham                          U.S. Securities and Exchange
Radians Wareham Holding, Inc.                           Holdings                                            Commission
Attn: Mike Tutor, CEO                                   E. Franklin Childress, Jr.                          Attn: Bankruptcy Counsel
5305 Distriplex Farms                                   Baker, Donelson, Bearman, Caldwell                  444 South Flower Street, Suite 900
Memphis, TN 38141                                       & Berkowitz, PC                                     Los Angeles, CA 90071-9591
                                                        165 Madison Ave, Suite 2000
                                                        Memphis, Tennessee 38103

CRG Financial LLC
100 Union Avenue
Cresskill, NJ 07626

Governmental Agencies
Internal Revenue Service                                Franchise Tax Board                                 State Board of Equalization
P.O. Box 7346                                           Bankruptcy Section, MS: A-340                       Account Information Group, MIC: 29
Philadelphia, PA 19101-7346                             P.O. Box 2952                                       P.O. Box 942879
                                                        Sacramento, CA 95812-2952                           Sacramento, CA 94279-0029

Employment Development Dept.                            Office of Unemployment
Bankruptcy Group MIC 92E                                Compensation Tax Services
P.O. Box 826880                                         Department of Labor and Industry
Sacramento, CA 94280-0001                               Commonwealth of Pennsylvania
                                                        651 Boas Street, Room 702
                                                        Harrisburg, PA 17121

Equity Holders - SERVED BY EMAIL
Patrick W. O'Brien                                      Ronald Chez                                         Scott Jarus
301 Whitmore Lane                                       1524 N. Astor Street                                938 Duncan Avenue
Lake Forest, IL 60045-4707                              Chicago, IL 60610                                   Manhattan Beach, CA 90266
Email: obrien.pat@me.com                                Email: rlchez@rcn.com                               Email: scott.jarus@verizon.net




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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